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                           EXHIBIT 9
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                              THE STATE OF SOUTH CAROLINA
                                  IN THE SUPREME COURT
                                 _________________________

                                      Case No. 2002-024388
                                      ____________________

                                     BRAD KEITH SIGMON
                                                     Petitioner,
                                             v.

                               STATE OF SOUTH CAROLINA,
                                                      Respondent.
                             ________________________________

                    MOTION FOR TEMPORARY STAY OF EXECUTION
                         _________________________________

       Brad Keith Sigmon, an indigent prisoner under sentence of death, respectfully requests that

this Court either decline to set a date for his execution or enter a temporary stay of execution.1

       Mr. Sigmon seeks this relief for three reasons: First, the South Carolina Department of

Corrections (SCDC) has not yet advised this Court that it has the means to conduct an execution

by lethal injection, as required by this Court’s order in Moore v. State, No. 2001-021895 (Nov. 30,

2020). The mere setting of an execution date, irrespective of whether SCDC has the means or

intent to attempt it, imposes significant consequences for the Department of Corrections

(administration, staff, and inmates), counsel for the State and the condemned individual, and the

courts. Second, attempting an execution during a global pandemic creates unnecessary and

unjustified health risks to SCDC staff, Mr. Sigmon’s legal team, and the witnesses designated by

S.C. Code Ann. § 24-3-550 (2012). Third, moving forward with an execution date during this



1
 It its letter to the Court filed Jan. 11, 2021, the Attorney General makes no representation to its
ability to carry out an execution, nor does it formally request the Court set a date.
                                                  1
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pandemic impedes Mr. Sigmon’s access to counsel, whose assistance he requires to select a

method of execution, to prepare and present his application for executive clemency, and to

determine whether grounds exist to seek habeas relief per this Court’s original jurisdiction.

         In support of this motion, Mr. Sigmon apprises this Court of the following facts and legal

principles.

  I.     Relevant Procedural History

         In 2002, Mr. Sigmon was convicted of murder and sentenced to death in Greenville County,

South Carolina. On December 19, 2005, this Court upheld Mr. Sigmon’s convictions and sentence

on direct appeal. State v. Sigmon, 366 S.C. 552 (2005). Mr. Sigmon applied for post-conviction

relief (“PCR”) on October 13, 2006; the lower court denied relief, and this Court denied his petition

for a writ of certiorari. Sigmon v. State, 403 S.C. 120, 742 S.E.2d 394 (2013).

         Mr. Sigmon subsequently sought federal habeas relief under 28 U.S.C. § 2254, which the

District Court of South Carolina denied on March 21, 2018. Sigmon v. Stirling, 2018 U.S. Dist.

LEXIS 168699. The Fourth Circuit granted a Certificate of Appealability but subsequently denied

relief and rehearing. Sigmon v. Stirling, 956 F.3d 183 (4th Cir. 2020). Mr. Sigmon filed a petition

for a writ of certiorari in the United States Supreme Court, which was denied on January 8, 2021.

The Attorney General then requested this Court set an execution date in Mr. Sigmon’s case.

 II.     Reasons to Delay Setting an Execution Date or Issue a Stay of Execution.

         Because SCDC does not have the means to lawfully carry out this execution and should

not attempt to do so during a global pandemic, “exceptional circumstances” warrant issuance of a




                                                 2
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stay instead of an execution date. See In Re Stays of Execution in Capital Cases, 321 S.C. 544,

548, 471 S.E.2d 140 (1996).2

            A. This Court Has Previously Determined That A Stay of Execution is Necessary and
               Warranted Based on SCDC’s Determination that it Cannot Obtain Lethal Injection
               Drugs, and the Setting of a Date Would Have Real Consequences on All Parties.

        On November 30, 2020, this Court stayed Richard Moore’s execution after SCDC reported

that it did not have, and would not be able to obtain, the drugs necessary to carry out an execution

by lethal injection. Order, State v. Moore, Appellate Case No. 2001-021895 (Nov. 30, 2020). This

Court’s stay in Moore remains in effect until SCDC informs this Court that it has the “ability to

perform the execution as required by law.” Id. In the intervening five weeks, nothing has changed;

SCDC has not informed this Court or counsel for Moore that it can lawfully carry out an execution.

There is no reason for the attorneys, the courts, and SCDC to spend weeks preparing for an

execution when it is clear no lawful execution can proceed.3




2
 Because South Carolina Code Section § 17-25-370 contemplates that either a stay or an execution
date will be in place in all cases, this Court should enter a temporary stay of execution as it did in
the Moore case.
3
  Because SCDC has represented that it does not know which drugs it would be able to legally
obtain, much less all the necessary details of a lethal injection protocol, Mr. Sigmon would be
unable to make an informed decision about his method of execution, now or two weeks prior to
the execution date, as required by S.C. Code Ann. § 24-3-530. If an inmate fails to select a method
of execution, the statute defaults to lethal injection. If SCDC still cannot obtain the lethal injection
drugs, this Court would be required to enter a stay just as in Richard Moore’s case. If SCDC does
find a pharmacy willing to provide the chemicals for a lethal injection execution, defense counsel
would require more than the fourteen days before Mr. Sigmon’s execution to evaluate the new
protocol and determine if the protocol is constitutional or requires litigation. This would also
require a stay of execution. To avoid placing Mr. Sigmon and the rest of death row on execution
status, instigating other end-stage protocols on death row, and beginning end-stage litigation when
the ultimate outcome will be a stay of execution, this Court should enter a stay until SCDC affirms
they have the lethal injection drugs and provides defense counsel adequate time to review the
protocol with the client and their experts.


                                                   3
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        The issuance of an execution warrant has instant and significant consequences for this

Court, SCDC and state attorneys, defense attorneys, SCDC security officers, and inmates. Once

SCDC receives an execution warrant, it immediately places the condemned inmate on “execution

status,” which requires his assignment to Level III (normally reserved for those deemed a serious

security risk) and confinement in a different wing of the prison, in an isolation cell with constant

video surveillance and lights that cannot be turned off. He is not permitted to speak with other

inmates. Security officers must make a physical visit to his cell every 15 minutes. In addition,

SCDC places the entire death row unit on lock down, eliminating all recreation and prohibiting

inmate interaction until a stay is entered or the inmate is executed; during that time, the death row

psychologist must conduct a mental health evaluation of each inmate. Additionally, SCDC must

initiate its other execution procedures, which include scheduling the inmate’s final visits with

family and spiritual advisors, planning for disposal of the inmate’s property, and, with the inmate’s

family, determining the disposition of the inmate’s corpse and any funeral arrangements. These

superadded processes place substantial stress and anxiety on both SCDC staff and inmates—an

unnecessary toll when the execution could not be carried out.

        Furthermore, so long as a warrant is in place, undersigned counsel cannot assume that the

execution will not go forward. We must treat any execution date as “real” and initiate any litigation

necessary to obtain information about SCDC’s intended method and means of execution and other

ancillary matters. The Attorney General’s office and counsel for SCDC will have to respond to

those actions, and the courts will have to adjudicate them—an unnecessary expenditure of

resources by counsel and the courts.

        In sum, no date should not set, or a stay should be entered until SCDC informs this Court

that it has the ability to carry it out.



                                                 4
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           B. Conducting an Execution in the Midst of a Global Pandemic Would be an
              Unnecessary and Unreasonable Risk to the Health of all Involved

       As this Court has recognized, the ongoing COVID-19 pandemic continues to impact all

aspects of life in South Carolina and around the world. See, e.g., Adams v. McMaster, 2020 WL

5939936, No. 2020-001069, at *3 (S.C. Oct. 7, 2020). Since January 2020, 1,189,420 individuals

have died from COVID-19 worldwide; nationally, COVID-19 is responsible for at least 364,218

deaths.4 As of January 7, 2021, South Carolina had 338,112 documented cases of COVID-19 and

5,661 deaths (with the death rate increasing by 83 percent over the last two weeks).5 South

Carolina has been in a State of Emergency since March 13, 20206, with the upcoming months

projected to be the worst of the pandemic, as holiday travel is “light[ing] up” the state with new

infections7 just as a more contagious strain of the virus has entered the country, overburdening our


4
  COVID-19 Dashboard, Center for Systems Science at John Hopkins University (updated Jan. 7,
5:23 PM), https://coronavirus.jhu.edu/map.html. It is worth noting that when our office filed a
similar motion in Mr. Moore’s case on November 2, 2020, 228,667 people had died in the United
States; over a third of the deaths related to the COVID-19 pandemic in our nation have occurred
in the last two months.
5
  South Carolina Covid Map and Case Count, N.Y. Times (Updated Jan. 7, 2021, 2:08 PM),
https://www.nytimes.com/interactive/2020/us/south-carolina-coronavirus-cases.html. When we
filed the motion in Mr. Moore’s case on November 2, 2020, there were 174,591 cases and 3,889
deaths in the state; in two months, the infection rate has nearly doubled. Over the Thanksgiving
and Christmas holidays, an additional 1,772 people died.
6
 S.C. Exec. Order No. 2020-09 (Mar. 13, 2020),
https://governor.sc.gov/sites/default/files/Documents/Executive-Orders/2020-03-13 FILED
Executive Order No. 2020-08 - State of Emergency Due to Coronavirus (COVID-19).pdf. The
Governor renewed the State of Emergency most recently on December 23, 2020. S.C. Exec.
Order No. 2020-67 (Dec. 23, 2020),
https://governor.sc.gov/sites/default/files/Documents/Executive-Orders/2020-12-
23%20FILED%20Executive%20Order%20No.%202020-77%20-
%20State%20of%20Emergency.pdf
7
 SC ‘to see a big surge coming up’ in coronavirus cases after holidays, MUSC expert warns,
Post and Courier (last updated Jan. 07, 2021)
https://www.postandcourier.com/health/covid19/sc-to-see-a-big-surge-coming-up-in-
coronavirus-cases-after-holidays-musc-expert/article_8b6f85e4-5030-11eb-bdba-
0bff912c91b6.html
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already strained hospitals.8 In recognition of the present dangers, this Court has just entered an

order once again suspending jury trials9 and all in-person hearings, beginning Monday, January

11, 2021.10

        Like many other correctional institutions around the country11, SCDC has been severely

impacted by COVID-19, with at least 15 percent of its entire inmate population having been

infected12 and dying at a rate 97 percent higher than the rest of the state13—conditions so dire that

SCDC Director Bryan Stirling stated in December that his guards were “risking their lives” every

day.14 This is despite mitigation measures imposed in March 2020 that restricted entrance to

essential staff, increased screening of staff and inmates, limited transfers and in-person attendance




8
 Id.
9
 S.C. Exec. Order No. 2020-12-03-01 (Dec. 3, 2020),
https://www.sccourts.org/courtOrders/displayOrder.cfm?orderNo=2020-12-03-01
10
   S.C. Exec. Order No. 2021-01-06-01 (Jan. 6, 2021),
https://www.sccourts.org/courtOrders/displayOrder.cfm?orderNo=2021-01-06-01
11
   COVID-19 Cases and Deaths in Federal and State Prisons Significantly Higher Than in U.S.
Population, Johns Hopkins Bloomberg School of Public Health (July 8, 2020),
https://www.jhsph.edu/news/news-releases/2020/covid-19-cases-and-deaths-in-federal-and-state-
prisons-significantly-higher-than-in-u.s.-population.html.
12
   See COVID-19 Information, S.C. Dep’t Corrections (updated Oct. 29, 2020, 9:22 AM),
http://doc.sc.gov/covid.html; Average Daily Inmate Population, S.C. Dep’t Corrections, (updated
Oct. 1, 2020), http://www.doc.sc.gov/research/SystemOverview/Avg_pop_FY_1970-2020.pdf.
13
  A State-by-State Look at Coronavirus in Prisons, Marshall Project (updated Dec. 18, 2020, 12:35
PM),      https://www.themarshallproject.org/2020/05/01/a-state-by-state-look-at-coronavirus-in-
prisons. As we were drafting this motion, another man incarcerated within SCDC passed away in
the hospital after being infected with COVID-19. COVID-19 Update, S.C. Dep’t. Corrections (Jan.
5, 2021 6:00 PM), http://www.doc.sc.gov/COVID19_death_010521.pdf
14
  Nearly 4,000 SC Corrections workers are getting bonuses during the COVID-19 pandemic,
The State, (last updated Dec. 18, 2020) https://www.thestate.com/news/politics-
government/article247917035.html
                                                 6
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at hearings, and barred family visitation.15 Broad River Correctional Institution (“Broad River”),

which houses all death row inmates in South Carolina, has seen 415 inmates infected (with 29

current cases) and nine deaths,16 alongside the second-highest number of confirmed staff

infections, with 82 confirmed cases and one death.17 While there is no official count available for

death row, Mr. Sigmon and other clients of undersigned counsel report that six of the thirty-six

men on death row have been tested for COVID-19, with four testing positive. The entire unit has

been placed on quarantine with all legal visits (in-person and virtual) suspended multiple times

because of COVID-19.

       All but two states have stayed or declined to set execution dates during the pandemic.18

Just last week Tennessee granted an “indefinite” stay to an inmate due to a “surge in COVID-19

cases in the state.”19 The federal government stands alone in continuing to conduct executions this

year and has exposed FCI Terre Haute staff and inmates to the virus. The federal death row unit




15
    See COVID-19 Update, S.C. Dep’t. Corrections (Dec. 31, 2020 12:00 PM), pdf
http://www.doc.sc.gov/COVID19_visitation_123120.pdf. As of now, these restrictions remain in
place through the end of January and will likely be extended.
16
    COVID-19 Information, S.C. Dep’t Corrections (updated Jan. 7, 2021 9:35 AM),
http://doc.sc.gov/covid.html. This institution accounts for approximately 15 percent of the
confirmed cases across the twenty-two state institutions.
17
   Id. Staff infection numbers are based on self-report, not department testing. Id.
18
   Missouri executed one person in May but no one since. Missouri executes first US inmate put
to death during coronavirus pandemic, CNN, (updated May 20, 2020)
https://www.cnn.com/2020/05/20/us/missouri-executes-inmate-walter-barton/index.html. Texas
executed one person in June, but then began delaying execution dates due to the risks posed by
COVID-19. 7th Texas Execution Delayed as Attorneys Cite Pandemic, US News (Aug. 17,
2020), https://www.usnews.com/news/best-states/texas/articles/2020-08-17/7th-texas-execution-
delayed-as-attorneys-cite-pandemic.
19
  Tennessee death row inmate Oscar Smith granted indefinite stay of execution due to COVID-
19, News Channel 5 (updated Jan. 6, 2021), https://www.newschannel5.com/news/tennessee-
death-row-inmate-oscar-smith-granted-indefinite-stay-of-execution-due-to-covid-19
                                                7
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experienced an outbreak of COVID-19 cases after two executions were conducted in July,20 and

after the November execution of Orlando Hall, no fewer than fourteen of the fifty federal death

row inmates had tested positive.21

       The sparse information about SCDC execution facilities22 and protocols23 indicate that an

execution in South Carolina poses even greater risks of viral spread. While SCDC declines to

disclose how many individuals will be involved in the execution, some number will have to escort

Mr. Sigmon to the chamber, restrain him to the chair or gurney, and attach the equipment provided

for the chosen execution method. The presiding physician will have to examine Mr. Sigmon after

the method has been carried out to pronounce his death. But SCDC’s current procedures make it

impossible to know whether execution team members carry the virus, which risks asymptomatic

transmission.24 CDC-recommended social distancing is impossible in the death chamber, which



20
   Henderson Hill, New Data Connect the Federal Executions and a COVID-19 Outbreak in
Indiana, ACLU (Sept. 22, 2020), https://www.aclu.org/news/capital-punishment/new-data-
connect-the-federal-executions-and-a-covid-19-outbreak-in-indiana/
21
   Virus Hits Federal Death Row, Prompting Calls for Delays in Executions, New York Times
(updated Dec. 21, 2020), https://www.nytimes.com/2020/12/21/us/politics/coronavirus-death-
row-executions.html
22
   The Capital Punishment Facility at Broad River was built in 1988 and has not been updated
since its original construction. Death Row / Capital Punishment, S.C. Dep’t Corrections,
http://www.doc.sc.gov/news/deathrow.html.
23
   In preparation for Richard Moore’s possible execution, undersigned counsel asked SCDC what
health and safety procedures would be put in place to ensure that the safety of all participants
including members of the execution team and authorized witnesses. SCDC initially declined to
provide any information about COVID-19 protocols, but later stated that the only plans they had
to modify the execution process in regards to COVID-19 safety protocols would be to adjust
“seating and arrangements” for those viewing the execution. See Colie Rushton Aff. ¶12 (Nov.
18, 2020) (filed on as Ex. 1 to SCDC’s Return to Richard Moore’s Petition for Common Law
Remedial Writs of Certiorari and Mandamus and to Petition for Original Jurisdiction and
Declaratory Judgment on November 18, 2020).
24
   Widespread testing of staff is not being conducted. Currently, staff are being screened with a
questionnaire and a temperature check when they come to the facility, and are only being sent
home if they answer yes to screening questions or have a temperature of over 100.4 degrees
COVID-19 FAQs, S.C. Dep’t Corrections (updated Apr. 24, 2020), http://doc.sc.gov/COVID-
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measures 15’8” by 20’, with a 10’4” ceiling, brick walls, and vinyl flooring according to the most

recent information provided by SCDC.

       Ten witnesses are statutorily authorized to be present at the execution, including: the

victim’s family; a solicitor and law enforcement officer from the county where the offense

occurred; media representatives; and two witnesses on behalf of the inmate, selected from his

immediate family, any spiritual advisors, or counsel. S.C. Code § 24-3-550 (2012). An execution

would endanger them all.25 Upon arriving for the execution, the witnesses must wait together at

the front gate before being transported back to view the execution. SCDC provides no information

as to how they will be safely screened. Witnesses are typically transported to the Capital

Punishment Facility grouped together in three vans, in which social distancing is impossible. Once

in the facility, the witnesses sit in a single row of chairs positioned before a window into the

execution chamber, where they must sit close together for everyone to have an unobstructed view

of the execution. While the dimensions of the witness room are not available, given the dimensions

of the execution chamber, its window cannot be longer than 20 feet. Despite SCDC’s promise to

modify seating, it is difficult to imagine that ten people could socially distance within that space

while witnessing. Nor is there any requirement that these witnesses quarantine for the CDC-

recommended 14 days if they have traveled out-of-state, or have a negative COVID-19 test prior




19_FAQs_4-24.pdf. No other testing is being conducted to ensure that asymptomatic positive
staff members are not coming into Broad River or any other SCDC institutions, and all COVID-
19 testing of staff is being self-reported, not SCDC facilitated. See COVID-19 Information, S.C.
Dep’t Corrections (updated Oct. 17, 2020, 11:18 AM), http://doc.sc.gov/covid.html.
25
  Mr. Sigmon is statutorily given the choice of which witnesses he wants to be there on his behalf.
See S.C. Code § 24-3-550(5) (2012). Mr. Sigmon’s right to select these witnesses and their right
to witness the execution would both be impacted were the execution to be carried out currently
due to travel restrictions and quarantine requirements.
                                                 9
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to entering, or wear personal protective equipment. Accordingly, witnessing virtually ensures

prolonged opportunities for COVID-19 exposure.

       Conducting an execution under the current conditions at Broad River and without health

and safety procedures in place to protect all who have a right to be present would be irresponsible

and dangerous to those present and the communities in which they reside.

       Given the risks associated with this deadly and highly-communicable virus and the current

procedures (and lack thereof) at Broad River, an execution cannot be conducted without

endangering all of those involved and the communities where they live. So long as South

Carolina’s state of emergency is in effect, no execution should occur.26

           D.      A Delay in Setting an Execution Date is Necessary to Give Meaningful Effect
                   to Mr. Sigmon’s Right to Counsel to Assist in Selection of a Constitutional
                   Method of Execution, Seeking Executive Clemency, and Assessing Whether
                   there are Grounds to file an Original Habeas Petition

       Per counsel’s ethical duty to their client, they must treat any execution date as “real,” and

prepare end-stage proceedings such as executive clemency, an original habeas petition, method-

of-execution litigation, and any other collateral challenges necessary to protect their client’s rights.

Many require investigation, including witness interviews. Each requires frequent, extensive, and

privileged communications with her client. The risks these end-stage proceedings pose to counsel

are patent, as demonstrated by counsel for federal death row prisoner Lisa Montgomery, who

contracted COVID-19 while traveling to see her, necessitating a stay of her execution until they

recovered.27


26
   Counsel filed a similar motion based on the risks posed by COVID-19 in Richard Moore’s
case. While it is not clear if this Court ruled upon that motion, the pandemic has only worsened
in the two months since it was filed.
27
  First federal execution of a woman in decades halted after lawyers diagnosed with Covid,
NBC News (updated Nov. 19, 2020), https://www.nbcnews.com/news/us-news/first-federal-
execution-woman-decades-halted-after-lawyers-diagnosed-covid-n1248284
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                            i. Selection of Execution Method

          The current COVID-19 restrictions on counsel’s access to Mr. Sigmon have also impaired

their ability to assist him with the difficult decisions concerning the selection of execution

method—which requires the painstaking evaluation of lethal injection versus electrocution.28

Counsel also plays an important role in supporting the inmate as they face their last days,

discussing wrenching matters such as his choice of witnesses and desired arrangements after death.

These challenges will be heightened for Mr. Sigmon, as SCDC could reveal plans for his execution

with very little notice, leaving counsel little time to prepare him legally or emotionally. These

conversations are hard enough during an in-person visit. Conducting them virtually, through

fifteen-minute telephone or video calls, during which clients are frequently interrupted or

distracted, and confidentiality cannot be guaranteed, is simply inadequate.

                            ii. Clemency

          Any death sentenced individual has the constitutional right to pursue executive clemency

from the Governor under Article IV, Section 14. S.C. Const. art. 4, § 14. See also S.C. Code §§

24-21-910 to 24-21-1000. Clemency plays a vital and deeply-rooted role in our system of capital

punishment. As the Supreme Court has recognized, “[i]t is an unalterable fact that our judicial

system, like the human beings who administer it, is fallible,” Herrera v. Collins, 506 U.S. 390,

415 (1993), and clemency is the “fail safe” to prevent miscarriages of justice after all judicial

process has been fully exhausted, id. at 411 (internal quotations omitted). The Court has also

recognized clemency’s importance as a means of grace, as it allows for “consider[ing] a wide range

of factors not comprehended by earlier judicial proceedings and sentencing determinations.” Ohio

Adult Parole Authority v. Woodard, 523 U.S. 272, 281 (1998).



28
     See S.C. Code § 24-3-530; Bucklew v. Precythe, 139 S. Ct. 1112 (2019).
                                                 11
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       To that end, the Court recognizes the condemned’s residual life interest in seeking that

grace, id., and the importance of his having the assistance of counsel throughout the clemency

process, Harbison v. Bell, 556 U.S. 180, 194 (2009). That recognition is echoed in the ABA

Guidelines, which detail clemency counsel’s professional and ethical obligations.29 Undersigned

counsel Megan Barnes and Josh Kendrick have been appointed by the federal courts to represent

Mr. Sigmon in his executive clemency proceedings. To represent Mr. Sigmon in keeping with the

ABA standards and the dictates of the United States Supreme Court, however, counsel would need

meaningful access to Mr. Sigmon, the ability to conduct necessary investigation, and adequate

expert access to Mr. Sigmon. See, e.g., Harbison, 556 U.S. at 184–86. Because of the COVID-19

pandemic, however, none of these has been fully available for nearly fourteen months.

       Indeed, SCDC restrictions on visitation and guidance from the South Carolina Department

of Health and Environmental Control has made these basic tasks impossible. On March 16, 2020,

SCDC suspended family visitation and placed restrictions on attorney visitation in accordance with

Governor McMaster’s Executive Order 2020-08; it has continuously reaffirmed the suspension.

Mr. Sigmon’s counsel has only been able to visit him in person once in the last six months. Their

interaction with him has otherwise been limited to fifteen-minute phone calls and a handful of

video visits. Moreover, during a month-long quarantine on death row between September 25 and

October 27, 2020, legal visits were stopped entirely. No attorney was able to speak with Mr.

Sigmon (or any other death row inmate) in person or via video during that time.


29
  ABA Guidelines for the Appointment and Performance of Defense Counsel in Death Penalty
Cases 10.15.2, p. 1088 (2003). The ABA Guidelines have been recognized by this Court as
codifying time-honored norms of capital representation. See Ard v. Catoe, 372 S.C. 318, 642
S.E.2d 590 (citing ABA Guidelines for the Appointment and Performance of Defense Counsel in
Death Penalty Cases and reversing capital trial due to defense counsel’s fact investigation falling
below that required by the guidelines); see also Council v. State, 380 S.C. 159, 670 S.E.2d 356
(2008)(citing ABA Guidelines for the Appointment and Performance of Defense Counsel in
Death Penalty Cases and reversing death sentence due to inadequate mitigation investigation).
                                                12
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        Given the scope of work required, counsel would need to visit a client facing an imminent

execution several times per week, with the frequency of visits only increasing as the execution

date neared. Moreover, counsel’s restricted access to Mr. Sigmon has left them unable to assess

the need for additional expert assistance in support of clemency—to say nothing of the hindrance

those restrictions would place upon an expert assessment, given the impossibility of conducting a

complete evaluation via video conferencing and the danger of visiting death row given Broad

River’s infection rates.

        Moreover, counsel cannot conduct the necessary investigation with Mr. Sigmon’s family

in South Carolina without disregarding Governor McMaster’s executive orders and endangering

herself and them. In-person interviews are a central component of investigation. But it is neither

safe nor wise for counsel to conduct any in-person interviews currently. This is particularly true

for Mr. Sigmon’s parents—both of whom are critical witnesses but also seriously ill, with his

mother dependent on the care of his sister and brother while his father lives in an elder care facility.

Any attempt to interview them would be enormously risky for them and those who care for them.

Indeed, for the last several months, even Mr. Sigmon’s family has been barred from seeing his

father, given the elevated risks of transmission within his facility.

        There is simply no adequate substitute for the field-based observations in-person interviews

provide. And while some phone and video interviews can be conducted, their limitations are

exacerbated by the mental health impacts of the pandemic, which have complicated rapport-

building—a precondition to discussing the potentially difficult experiences and memories that

form a clemency presentation.30 Accordingly, what limited investigation that could be done in



30
  Courts have found counsel ineffective for only conducting phone interviews. See, e.g., Doe v.
Ayers, 782 F.3d 425, 438-39 (9th Cir. 2015); Brown v. Thaler, 684 F.3d 482, 488 (5th Cir. 2012);
Ferrell v. Hall, 640 F.3d 1199, 1219 n. 14 & 1229 (11th Cir. 2011); Harries v. Bell, 417 F.3d 631,
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current conditions would “violat[e] minimum standards of performance,” as the collected

information would be unreliable and incomplete.

          The inability to conduct an inadequate investigation deprives Mr. Sigmon of his

meaningful representation and, in turn, prevents Governor McMaster from considering the “wide

range of factors” necessary to carry out his solemn duty, and determine whether Mr. Sigmon. That

is reason alone for this Court to declining to set an execution date.

                        iii. Original Habeas

          Many of the tasks and duties required of counsel in clemency are also essential to her

assessment of whether Mr. Sigmon should file an original habeas petition. Pursuing an original

writ of habeas corpus is statutorily and constitutionally guaranteed for inmates sentenced to death.

See S.C. Const. art. 1, § 18; S.C. Code § 17-17-10 (2012). It exists as a failsafe to ensure that the

inmate’s sentence does not “constitute[] a denial of fundamental fairness shocking to the universal

sense of justice.” Butler v. State, 302 S.C. 406, 468, 397 S.E.2d 87, 88 (1990) (internal citations

omitted).

          For that failsafe to function, however, counsel must have access to their client and the

ability to undertake necessary investigation – neither of which are possible to safely do in the midst

of the current pandemic, for the reasons detailed above (and incorporated here). Declining to set

an execution date is necessary to ensure that Mr. Sigmon’s counsel is able to assess the necessity

of an original habeas petition, and to ensure that he does not forfeit statutory and constitutional

rights.


638 (6th Cir. 2005). Record collection has also been impacted by COVID-19 related “closures,
partial closures, furloughs, and alternative working situations” making the location and release of
records difficult, if not impossible. Many essential records for investigation purposes are not be
included in the digitized collections that might be available for release.


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                                        CONCLUSION

       For the reasons stated above, this Court should temporarily suspend setting an execution

date or enter a temporary stay of execution.

                                                    Respectfully submitted,

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